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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ARMANDO SERRANO                           )
                                          )     Case No. 17 CV 2869
                              Plaintiff,  )
                                          )     Hon. Manish S. Shah
                                          )
            vs.                           )
                                          )     Magistrate Susan E. Cox
                                          )
REYNALDO GUEVARA, ERNEST                  )     JURY DEMAND
HALVORSEN, EDWARD MINGEY,                 )
MATTHEW COGHLAN, JOHN DILLON, the         )
CITY OF CHICAGO, and COOK COUNTY          )
                                          )
                        Defendants.       )
______________________________________________________________________________
JOSE MONTANEZ                             )
                                          )     Case No. 17 CV 4560
                              Plaintiff,  )
                                          )     Hon. Manish S. Shah
                                          )
            vs.                           )     Magistrate Susan E. Cox
                                          )
                                          )     JURY DEMAND
REYNALDO GUEVARA, ERNEST                  )
HALVORSEN, EDWARD MINGEY,                 )
MATTHEW COGHLAN, JOHN DILLON, the         )
CITY OF CHICAGO, and COOK COUNTY          )
                                          )
                        Defendants.       )

                     DEFENDANTS’ JOINT MOTION FOR A NECESSARY
                           EXTENSION OF FACT DISCOVERY

        Defendants Reynaldo Guevera, Ernest Halvorsen, Edward Mingey, the City of Chicago,

John Dillon, Mathew Coughlin, and Cook County (collectively, “Defendants”), by each of their

undersigned attorneys, request an extension of fact discovery for good cause shown, and state:




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                          Background Relating to Plaintiffs’ Complaints

        1.      Plaintiff Serrano filed his complaint in May 2017 and Plaintiff Montanez filed his

complaint in June 2017. With nearly identical allegations, Plaintiffs have sued former Chicago

Police Detectives Reynaldo Guevara and Ernest Halvorsen, former Chicago Police Sergeant

Edward Mingey, former Cook County Assistant State’s Attorneys Matthew Coughlan and John

Dillon, the City of Chicago, and Cook County.1 Plaintiffs’ claims stem from their arrest,

prosecution, and conviction for the 1993 murder of Rodrigo Vargas. The claims against the

individual police officer defendants include violations of due process for fabricating and

concealing exculpatory evidence, failure to intervene, and conspiracy, as well as the state law

claims of malicious prosecution, intentional infliction of emotional distress, and conspiracy.

Against the City of Chicago, Plaintiffs allege the constitutional violations they suffered were

carried out in accordance with the City’s policies, such that the City is liable pursuant to Monell

v. New York Dept. of Social Services, 436 U.S. 659 (1978). As for the former Assistant State’s

Attorneys, Plaintiff claim they similarly coerced key witnesses into falsely providing inculpatory

statements against Plaintiffs at their underlying criminal proceedings.

        2.      Plaintiffs’ causes of action are wide-spread and far reaching. Plaintiffs claim they

were convicted because Defendants conspired among themselves and with others to manipulate

witnesses into falsely implicating Plaintiffs in the 1993 Vargas murder and withheld material

evidence from Plaintiffs at trial. Plaintiffs contend this was a frame up led by Defendant

Detective Guevara, who Plaintiffs allege, has a history of committing similar misconduct against

dozens of other Latino men in the Humboldt Park neighborhood of Chicago during the course of

his career. Plaintiffs claim that due to Defendants misconduct they were wrongfully incarcerated

                                                            
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   These cases have been consolidated for purposes of pretrial and discovery and therefore, throughout the
instant motion Defendants will solely reference the Serrano Docket.

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for 23 years before being released and suffered severe physical and psychological pain and

suffering, and loss of liberty.

        3.      Because the underlying allegations relating to Plaintiffs’ claims occurred in 1993

(almost 26 years ago) attempting to 1) gather relevant documents related to the murder; 2) track

down, interview, and depose dozens of third-party witnesses; 3) inspect the criminal court

evidence and files; and 4) collect documents related to Plaintiffs’ alleged damages is difficult and

time-consuming. In Defense counsel’s experience, performing these necessary discovery

functions in order to adequately defend a reverse conviction case dating back to the early 1990s

takes time.

        4.      In preliminary discussions with Plaintiffs’ counsel just after the filing of their

respective Complaints, defense counsel raised these very concerns in relation to the scope of

discovery. But, out of an effort to amicably come to a mutual agreement regarding the discovery

schedule, Defendants ultimately agreed to attempt to complete fact discovery in a 15 month time

period. As such, in January 2018, the parties entered into a joint discovery agreement

whereupon fact discovery would be completed by March 2, 2019 and expert discovery could be

completed by July 3, 2019. (Serrano Dkt. 74.) Judge Cole indicated that no extensions would be

permitted. (Serrano Dkt. 75).

        5.      However, as highlighted below, good cause exists for a limited extension of fact

discovery as Defendants have been diligent in progressing through the necessary discovery to

bring this case to trial.




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                        History of the Litigation and Delays in Discovery

        6.     While the initial discovery period was underway, Judge Shah was reviewing

Defendants’ respective motions to dismiss that had been filed in the fall of 2017. (Serrano Dkts.

60, 68).

        7.     By the end of April 2018, discovery had been running productively, as the parties

had propounded discovery and the Defendants had already provided answers and responses to

Plaintiffs’ initial discovery requests. Additionally, at this point in the litigation, Defendants

Guevara, Halvorsen, and Mingey had been deposed and asserted their Fifth Amendment rights to

the entirety of Plaintiffs’ discovery requests, including invoking such rights during their

respective depositions.

        8.     On May 30, 2018, Judge Shah entered a memorandum and order granting in part

and denying part, Defendants’ motions to dismiss. Plaintiffs amended their Complaints on June

20, 2018. (Serrano Dkt. 90).

        9.     From there, and continuing throughout the summer of 2018, three law firms

representing the City of Chicago (Rock Fusco & Connelly, LLC), Defendants Halvorsen and

Mingey (The Sotos Law Firm, P.C.) and Defendant Guevara (Leinenweber, Baroni, & Daffada,

LLC ) and the law firm for Plaintiff Montanez (Loevy & Loevy) were actively preparing for, and

tried to verdict, the matter of Rivera v. Guevara, et al., Docket No. 12 CV 004428) before Judge

Gottshall. The Rivera matter involved some of the very same individual police officer

defendants – Guevara and Mingey – and included similar allegations of manipulating witnesses

and withholding material evidence. Additionally, Rivera alleged one similar Monell theory (the

so-called “street files” theory) against the City of Chicago. That verdict is currently the subject

of several post-trial motions, but, for purposes of this motion, it is important to note that the fact



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discovery period in the Rivera matter lasted nearly five years. In any event, the parties’

resources were significantly devoted to the Rivera trial throughout that time period.

        10.    After the Rivera trial, on September 5, 2018, Defendant Mingey elected to no

longer assert his Fifth Amendment rights and substantively answered Plaintiffs’ amended

complaint. (Serrano Dkt. 109). Similarly, on September 19, 2018, Defendant Halvorsen elected

to substantively respond to Plaintiffs’ amended complaints. (Serrano Dkt,. 114).

        11.    Shortly thereafter on September 21, 2018, after repeated requests by Defendant

Mingey’s and Halvorsen’s counsel since issuing initial discovery requests in April 2018,

Plaintiffs finally answered Individual Defendants First Set of Interrogatories. (Ex. A, Email

Requests for Discovery Responses & Signature Pages of Plaintiffs’ Answers to Interrogatories).

These interrogatory responses were five months overdue. Plaintiffs continued to withhold

responses to the Individual Defendants requests for production until just last week, eight months

past due, when Plaintiff Montanez finally provided responses to the Individual Officer

Defendants’ Requests to Produce on January 29, 2019. (Ex. B, Montanez’s Responses to

Request to Produce). Plaintiff Montanez provided these responses just one month before the

current fact discovery deadline. To date, Plaintiff Serrano has failed to provide any response to

Individual Defendants Request to Produce.

        12.    Additionally, after much back and forth between the parties, on October 2, 2018

an agreed confidential order (Serrano Dkt. 116) and HIPPA and Mental Health Protective Order

(Serrano Dkt. 115) were formalized and entered. As a result, it was only four months ago when

Defendants were able to subpoena, for the first time, some of the necessary medical records

pertaining to Plaintiffs’ alleged damages and medical histories.




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        13.    In continuing to follow up on Plaintiffs’ discovery deficiencies, on December 19,

2018, counsel for Defendants Halvorsen and Mingey provided Plaintiffs with a Rule 37.2 letter

requesting Plaintiffs provide more complete responses to certain interrogatory requests. (Ex. C,

Letters to Counsel). These requests were ignored until February 7, 2019, when Plaintiff

Montanez agreed to provide supplemental answers. Plaintiff Serrano has not yet substantively

responded to Defendants’ 37.2 letter.

        14.    Also on December 19, 2018, Defendants requested that Plaintiff Montanez

execute a social security release in order to subpoena Montanez’s records from the Social

Security Department and avoid any unnecessary delays in obtaining such records. (Ex. D,

12/19/18 Email and Release to Counsel). Defendants requested that Montanez execute the

release at his earliest opportunity. This request was similarly ignored until January 29, 2019.

        15.    On January 29, 2019, Plaintiff Montanez indicated for the first time, despite the

execution of a mental health protective order and clear law indicating otherwise, that he must

have the opportunity to review the social security records for “privilege” before such records are

turned over to Defendants and, thus, he will not sign the social security waiver form. As such,

counsel for Defendants Halvorsen and Mingey have been in negotiations with Montanez’s

counsel, consistent with this Court’s standing orders and Rule 37.2, to explain that he has already

waived any alleged privileges by placing his emotional damages at issue in this litigation.

Montanez, however, will not sign the form unless Defendants agree that he is permitted to first

review the medical records for privileged material. The parties are still discussing this issue, as

of the time of the filing of the instant motion but given Plaintiffs’ refusal to compromise in the

face of case law directly supporting Defendants’ position, a motion is likely imminent.




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        16.     Additionally, during the week of January 16, 2019, Defendants were forced to

raise concerns with Judge Shah about the feasibility of taking the scheduled deposition of a key

witness, Timothy Rankins. Plaintiffs wanted to move forward with his deposition at a local jail

in Oxford, Mississippi, despite the fact that the facility could not fully accommodate all parties.

Judge Shah agreed the deposition should not move forward but rather should be rescheduled to

take place at a more accommodating venue and held that “to the extent this will require an

extension of time of the discovery deadline (to complete the Rankins deposition and any follow-

up discovery), and extension is granted.” 2

        17.     Furthermore, on January 8, 2019, Defendants issued subpoenas to the Illinois

Department of Corrections requesting any and all records relating to Plaintiffs’ incarcerations,

including all recorded phone calls throughout their tenure at IDOC. Plaintiffs did not object until

ten days later, when on January 18, they independently contacted IDOC to advise that they

would be moving to quash the subpoenas and directed IDOC not to produce any recordings of

telephone calls pending resolution by this Court. Almost a month after the subpoena was issued,

Plaintiffs filed their motion to quash which is currently scheduled to be heard on February 12.

At the hearing date, Defendants will request an opportunity to brief the issue.

                      The Large Amount of Discovery Completed To Date

        18.     The parties have exchanged and identified hundreds of thousands of pages of

documents during the course of discovery. Defendants have disclosed police reports and other

documents pertaining to, not only to the Vargas murder, but also to other murder investigations

where Defendants Guevara, Halvorsen, and Mingey’s names appear on records. Defendants

have produced the Cook County State’s Attorney Office’s file for the underlying criminal case

                                                            
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   To date, Rankins’s deposition has not been rescheduled because the parties do not yet know in what
federal penitentiary he will ultimately be housed.  

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and post-conviction proceedings. Defendants have obtained the public defender file for Jorge

Pacheco (a criminal co-defendant who was acquitted) related to the Vargas murder.3 Defendants

have subpoenaed medical records, employment records, and school records for the Plaintiffs.

Additionally, Defendants have been in protracted negotiations in obtaining documents from

Northwestern University, as it relates to their Innocence Project’s investigation into the

convictions of Plaintiffs and the parties have just received tens of thousands of pages of

documents pertaining that investigation. 4

        19.      All of the parties’ depositions have either been taken, or are scheduled to be

taken, before the current March 2 deadline. This includes Defendants Halvorsen’s and Mingey’s

re-depositions after electing to substantively testify. Several police officers that were on-scene

after the 1993 murder of Vargas depositions were also taken. Additionally, key witnesses,

Francisco Vicente and the wife of the victim, Wilda Vargas, were also deposed. Further, many

of Plaintiffs’ family members and other pertinent damages witnesses were deposed.

        20.      More specifically, the following third-party discovery has been completed to date:

                 a.        Document subpoenas issued:
                      i.   Cook County State’s Attorney’s Office
                     ii.   Illinois Department of Corrections
                   iii.    Cook County Department of Corrections
                    iv.    Ogle County Department of Corrections
                     v.    Los Angeles County Sherriff’s Department
                    vi.    California Department of Corrections
                   vii.    FCI Beckley
                  viii.    Illinois Attorney Registration & Disciplinary Commission
                    ix.    Northwestern University Medill School of Journalism
                     x.    Northwestern University School of Law, Bluhm Legal Clinic, Center for
                           Wrongful Convictions
                       xi. Northwestern University Archives
                      xii. David Protess
                                                            
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    The defense attorney files for Plaintiffs have not been located.
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   Additionally, Plaintiffs have indicated, during our recent Rule 37.2 conferences, that they’ll be
producing additional documents at the tail of end of the current discovery deadline.

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                 xiii.   Chicago Innocence Center
                 xiv.    Sergio Serritella
                  xv.    Tactical Solutions Private Detectives and Consultants
                 xvi.    University of Chicago Law School Exoneration Project
                xvii.    BuzzFeed, Inc.
               xviii.    Melissa Segura
                 xix.    Francisco Vicente
                  xx.    G. Douglas Grimes
                 xxi.    Cook County Public Defender
                xxii.    Judge Greg Vazquez
               xxiii.    Donna Makowski
               xxiv.     Carmen Montanez
                xxv.     Norma Montanez
               xxvi.     Adam Stillo
              xxvii.     Daniel Cummings
             xxviii.     Mitchell Kreiter
               xxix.     Thomas A. Gibbons
                xxx.     Illinois Department of Healthcare and Family Services
               xxxi.     Illinois Department of Human Services
              xxxii.     Montanez Food & Liquor
             xxxiii.     Presence Health
              xxxiv.     Presence Resurrection Medical Center
               xxxv.     Presence St. Elizabeth Hospital
              xxxvi.     Presence St. Mary Hospital
             xxxvii.     THC Chicago Inc.
            xxxviii.     Tire America, LLC
              xxxix.     The Goodyear Tire & Rubber Co.
                   xl.   Venture
                  xli.   Chicago Car Center
                 xlii.   AMITA Health Alexian Brothers Medical Center Elk Grove Village
                xliii.   Cintas Uniform Company
                xliv.    Uber Technologies
                 xlv.    Tire America
                xlvi.    Dr. Darlene Perry
               xlvii.    Stroger Hospital

           b. Depositions completed

                    i.   Detective Richard Schak, October 30, 2018
                   ii.   Detective Neal Jack, October 30, 2018
                 iii.    Francisco Vicente, November 19, 2018
                  iv.    Maria Adams, December 5, 2018
                   v.    Sergeant Robert Biebel, December 6, 2018
                  vi.    Carmen Montanez, December 10, 2018
                 vii.    Carmen Maria Montanez, December 10, 2018
                viii.    Norma Montanez, December 11, 2018


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                     ix.    Wilda Vargas, December 12, 2018
                      x.    Neida Serrano, January 8, 2019
                     xi.    Fernando Serrano, January 8, 2019
                    xii.    Armando Daniel Serrano, Jr., January 9, 2019
                   xiii.    Christian Joel Serrano, January 9, 2019
                   xiv.     Maria Serrano, February 1, 2019
                    xv.     Orlando Serrano, February 1, 2019

              c. Depositions scheduled

                      i. Julio Lebron, Sr., February 14, 2019
                     ii. Emlilio Montanez, February 18, 2019
                    iii. David Protess, February 27, 20195

              d. Depositions subpoenas issued, but dates not yet confirmed

                       i.   Timothy Rankins6
                      ii.   Jaqueline Frazier
                    iii.    Rosa Serrano
                     iv.    Alina Machado
                      v.    Susan Roberts
                     vi.    Rosa Mae Neel
                    vii.    Julia Lissner
                   viii.    Molly Lynch
     Additional Discovery Related to Liability to the Individual Defendants and Prosecutors

        22.      There is more discovery to be done. Defendants are waiting on subpoenaed

documents from the University of Chicago and its Exoneration Project’s investigation into

Plaintiffs’ allegations of innocence. Defendants are expecting to receive those documents by the

end of February. Defendants continue to negotiate with counsel for Northwestern University and

Protess concerning compliance with document subpoenas previously issued, and may be required

to move to compel on those topics. Afterwards, Defendants will need to depose several

individuals from both the University of Chicago and Northwestern, including David Protess, who


                                                            
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  Protess deposition will take place over two afternoons. Second date yet to be scheduled.
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   Mr. Rankins is currently incarcerated at the Lafayette County Jail in Mississippi, awaiting transfer to
federal custody. Per Judge Shah’s order of January 16, 2019, Mr. Rankins deposition is continued until
such time as he is at a detention facility that can accommodate all counsel, along with “telephonic or
video-conferencing, and video recording.” See ECF Nos. 138 (Serrano), 145 (Montanez).

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created and once led Northwestern’s Innocence Project.7 Many of these individuals were former

students and, thus, are currently located throughout the country, but they are important witnesses

because they participated in attaining recant testimony from several of the key witnesses who are

now claiming Defendants coerced them into falsely providing testimony against Plaintiffs during

their criminal proceedings. Defendants expect to depose six to eight individuals in this regard.

        23.     Defendants also anticipate deposing Plaintiffs’ criminal trial attorneys, certain

other witnesses to Plaintiffs’ past crimes who provided testimony at Plaintiffs’ sentencing

hearing, and rescheduling recant witness Timothy Rankins deposition.

        24.     Additionally, during this discovery period, Defendants expect to receive complete

responses to Individual Defendants outstanding discovery requests and generally finalize any

outstanding discovery issues, including Plaintiffs’ motion to quash the IDOC subpoena and

Defendants motion to enforce Montanez to execute a medical waiver form.

        Additional Discovery Related to Monell Allegations against the City of Chicago

        25.     At this time, Plaintiff Serrano has issued no Monell-centric discovery. But,

Plaintiff Montanez issued extensive Monell-related requests in the last two months before

discovery is set to close. As soon as Plaintiff Montanez expressed interest in pursuing his

Monell claim, the City moved to bifurcate Monell claims for discovery and trial. (Serrano, ECF

139). Judge Shaw set a briefing schedule, and the motion will be fully briefed by February 20,

2019. It is possible, if not likely, that Judge Shaw will not rule on the motion before the current

fact discovery deadline.




                                                            
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    Mr. Protess has been served with a subpoena but due to medical issues can only sit for a limited time.
As such, the first part of his will be conducted on 2/27 and we are currently finding a second day to
complete his deposition that is convenient to the parties.  

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        26.     If Judge Shaw does not grant the City’s motion, there is currently not enough time

in discovery for Plaintiff Montanez to receive the discovery from the City he seeks, or enough

time for the City to seek its own discovery to defend these claims.

        27.     While part of the issue is that Plaintiff’s Monell claim is currently vague and

undefined, the City anticipates that Plaintiff will pursue many of the same issues his counsel did

in Rivera v. City of Chicago. There, as mentioned, the discovery lasted about five years, much of

it related to Monell. Among other things, the plaintiff in Rivera sought to prove that the City had

a policy and practice of not disclosing material exculpatory evidence to criminal defendants.

This entailed the parties conducting a comparison of a large volume of files, including CPD

investigative files, CPD Records Division files, Cook County State’s Attorney’s Office

(CCSAO) Files, and Cook County Public Defenders’ files. This was a time-consuming and

onerous process, necessitating considerable litigation and effort from the City, as well as the two

non-party entities.

        28.     The discovery Plaintiff Montanez recently issued appears to seek additional files

from which he can do a similar comparison, so as to make allegations of what or was not

produced in other cases. While there are significant problems with the validity of such a file

comparison, especially in this case, if Plaintiff is granted that discovery, it will take significant

time to complete. Again, the discovery does not only include the files Plaintiff requests, but the

files and other documents that the City will need to defend against this claim. This will include,

at a minimum, obtaining corresponding CCSAO files. It may also include obtaining court files,

defense attorneys’ files, transcripts, and obtaining witness statements pertaining to each

individual case.




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        29.    Additionally, Plaintiff seeks a considerable number of CPD Complaint Register

files (CRs). He seeks not just the CRs pertaining to the individual defendants, but CRs’ spanning

a twenty-year time period CPD-wide. Again, if Plaintiff is granted anything close to this

discovery, it will take considerable time to produce these files, and potentially even more time

for the City to produce and gather documents in its defense.

        30.    For these reasons, if Monell is not bifurcated, the City suggests an additional nine

months is needed to complete fact discovery.

                   Good Cause Exists For A Limited Discovery Extension

        31.    FED. R. CIV. P. 16(b)(4) governs extensions of discovery schedules. See Alioto v.

Town of Lisbon, 651 F.3d 715, 719–20 (7th Cir. 2011). Pursuant to FED. R. CIV. P. 16(b)(4), “[a]

schedule may be modified only for good cause and with the judge’s consent.” In determining the

existence of good cause, a court must consider “‘the diligence of the party seeking amendment.’”

Alioto, 651 F.3d at 720 (quoting Trustmark Ins. Co. v. Gen. & Cologne Life Re of Am., 424 F.3d

542, 553 (7th Cir. 2005)). Indeed, the good cause standard focuses on the diligence of the party

seeking an extension of time, “not on the prejudice to the other party.” Beauchamp v. City of

Dixon, 2014 WL 901437, at *3 (N.D. Ill. Mar. 7, 2014) (citing Alioto, 651 F.3d at 720).

        32.    Against this backdrop, Defendants have been diligent with their time in moving

forward with discovery as set forth above. While Defendants were hopeful to complete

discovery within the current timeline, there was simply just too much work to be completed

within that time frame to adequately defend against Plaintiffs’ claims.

        33.    As such, Defendants are seeking a 90-day extension of fact discovery in order to

complete the above described discovery related to the individual police officer and prosecutor




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defendants. To the extent Monell discovery is not bifurcated, Defendants are seeking a nine-

month extension of fact discovery.

          34.    This is Defendants’ first request for a motion to extend fact discovery and this

request is made before the current fact discovery deadline has passed. See McCann v. Cullinan,

No. 11 CV 50125, 2015 WL 4254226, at *10 (N.D. Ill. July 14, 2015) (The proper method to

seek an extension of discovery deadlines is to file a motion under Rule 16(b)(4) before the

deadline has passed”). This motion is not being made for the purpose of causing undue delay and

will not result in prejudice to any party.

          35.    The parties have met and conferred with Plaintiffs’ counsel on February 6, 2019,

consistent with this Court’s standing order and Rule 37.2, and they oppose any extension of fact

discovery beyond an additional thirty days. See 37.2 Certificate, attached as Exhibit E.

          WHEREFORE, Defendants respectfully request this Court enter an order granting their

motion for an extension of time to complete fact discovery, including an additional 90 days if

Monell discovery is bifurcated, and, if Monell discovery is not bifurcated, for an additional nine

months.

Dated: February 7, 2019

    Counsel for Defendant City of Chicago           Counsel for Defendant Mingey

    /s/ Eileen E. Rosen                             /s/ Josh M. Enquist
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    Counsel for Defendant Matthew Coghlan     Counsel for Defendants Guevara and Halvorsen

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